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                                                                                  FILED BY                  D.C .
M iam i,June 6,2024

A:Judge Beth Bloom .
                                                                                       Jtld 26 222j
                                                                                         ANGELA E.NOBLE
                                                                                        CLERK U S DISI CI
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                                                                                              .A.-MI
                                                                                                   AMI
Honorable m agistrate'
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                                        2 3 L'
                                             M 2:4/6/
Ihaveheard peoplew ho know justice,speakvery highly ofyou.W iththis,a breath ofhopecam eto my
soulthatthis ordealofm ore than 30 yearsofabuse against us would end.W e have always been good
people,w ho actw ith decorum in ouractionsand assistothers.How ever,Iife hasnot been ourw ay.
   W hen Isaw thatthe victim s ofM r.VictorM anuelRocha w ere going to be com pensated,Ithought
thatsomehow justicewouldbedoneforus.Thatasthemaininjured party,Iwouldhaverestitutionthat
would alleviate ourhardships and putan end to the dam age.Ithought Icould forgetthe grievancesw ith
a ''clean slate.''Thatthey gave m e the treatm entofa regularcitizen,to starta businessthatwould allow
usto Iive ourrem aining years m ore com fortably.Thinking like this,Iw entto the Iaw yerJosé Teurbe-
Tolön of25 SE 2nd Ave.Suite 808,M iam i,FL33131,w ho àfterreview ing the docum entsthat Ibrought
him,told me:Youhaveacase,itcostsyoumorethan$40,000.00(1responded:Idon'thavethatmoney
butIborrow it)andheadded:-1stIhavetoconsultwiththeFBIanddependingonwhattheytellmeI
w illtake yourcase ornot.
    W ith these w ordsthe w ings ofmy heartfell.Icouldn'
                                                       t see him again;he didn'teven answermy
phone.And thisinstitutionobeysarequestfrom FidelCastro in 1995 to im pose misfortune and poverty
on m e,because atthattim e,Iw asthe m osteffective opponentfighting hisregim e.Since thatm om ent,I
havedifficultyincreasing my bag.Theyintedere,violating Human Rightsand every1aw ihatexistsin this
country.
   Itisthe sam e institution that in 2021,w hile lw as atIdolaida Londefferls''YourHeajth First''CIinic,
Iocated in 900 Park Centre Blvd,M iam iGarden,caused m e to have cardiac arrhythm ia.To do this,they
used three apnea respirators,program m ed to stop w hen they w ere in deep sleep to produce the
opposite effectto w hatitshould.Since 2020,they have been w aiting form e to have a heartattack,they
told methatasajoke.Now they are moreserious,7 or8 m onthsago,theysuspendedto methe partof
M edicarethatcoversthehospital.TheyaddedthatIhadtopay$270.00monthly,ifIwantedsuch
assistance.That'swhenIhavearetirementpaymentof$489.00thatisnotenoughformetoeat.
   1w antthis action ofpreventing m e from having accessto Iawyersto be taken as evidence ofw hat I
express here.Iw asn'tgoing to talk aboutthis,butthey have Ieftm e no choice,and yet Ido itw ith as
m uch euphem ism as possible.Forthis reason,Iask thatyou grant m e the opportunity to defend myself,
asw ellasm y com patriots in the case w ho do nothave a Iaw yer.IguaranteethatIwillnotdo catharsis in
yourCourtbecause the m ain thing is said here,in the bestw ay.Ialso askthat Ibe sum m oned foran
interview to presentthedocuments,one ofw hich Ihavejustrequestedfrom the Departm entofState.I
am attaching a copy ofthe request.
                      '

   In the hope tha ' tice prevails,lrem ain w ith you.Sincerely.

                          A


Prof.Francisco Cha ano Gonzélez
Formerprisonerofconscience/Email:franciscochaviano@gmail.com,
15149SW 173Terrace,M iami,FL33187/phone(407)8609511
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    M iam i,junio 6 de 2024
    A:Jueza Beth Bloom .

    Honorable m agistrada:

       Heofdo hablarmuy biende usted a Iaspersonasconocedorasdejusticia.Con ello Ilegö am ialma un
    hllito de esperanza de que se ponga fin a este calvario de m és de 30 aKosde abuso contra nosotros.
    Hem ossido siem pre personas de bien,que actuam oscon decoro en nuestros actos y asistim osal
       i
    prckimo.Sinembargo,Iavidano noshacorrespondido.
       Cuando vique se iba a indem nizara Ias vfctim as deISr.VictorM anuelRocha,pensé que de alguna
    manera se hariajusticiapara con nosotros.Quecomo perjudicado principal,tendriauna restituciön que
    diera alivio a nuestraspenurias y se pusiera fin aldaso.Pensaba olvidarlos agravios en un ''borrön y
    cuenta nueva''. Que me dieraneltrato de unci    udadano regular,paraponerun negocio que nos
    perm itiera vivirIos asos que nos queden con m 5s holgura.Pensando asiacudfalabogado José Teurbe-
    Tolön de 25 SE 2nd Ave.Suite 808,M iam i,FL33131,quien después de revisarIosdocum entos que Ie
                                                                        .


    llevé,medijo:Tienescaso,tecuestam5sde$40,000.00(Ierespondf:NotengoesedineroperoIopido
I   prestado)yélagregö:-1rotengoqueconsultarconelFBIyendependenciadeIoqueellosmedigan
i
!   tom o tu caso o no.
        Con estas palabras se m e cayeron Ias alas deIcorazön.No pude volverlo a ver,nisiquiera m e
    responde alteléfono.Y esque esa instituciön,obedece a una peticiön de FidelCastro de im ponerm e el
    infortunio y Ia pobreza,que Ie hiciera en 1995.Dado que porentonces,era elopositorm 5s eficaz
    com batiendo a su régim en y desde aquelm om ento tengo dificultad para engrosarm ibolsa.Ellos
    interfieren violando Ios Derechos Hum anosy cuanta Iey existe en este pafs.
        Es Ia m ism a instituciön,que en 2021 estando en Ia Clfnica ''Tu Salud Prim ero''de Idolaida Londeffer,
    sita en 900 Park Centre Blvd,M iam iGarden,m e provocaron una arritm ia cardiaca.Para ello utilizaron
    tresrespiradores para Ia apnea,program ados a detenerse cuando estaba en elsueso profundo para
    producirun efecto inverso alque debia.Desde 2020 estén esperando que m e de un infarto,m e Io decian
    a m odo de brom a.Ahora van m Is en serio,hace 7 u 8 m eses,m e suspendieron la parte deIM edicare
    quecubreelhospital.Agregaronqueteniaquepagar$270.00mensual,siqueriataIasistencia.Eso
    cuandoyotengo unpago porjubilaciönde$489.00quenomealcanzaparacomer.
       Esta acciön de im pedirm e que tenga acceso a Iosabogados,quiero que se tom e com o una evidencia
    de Io quë aqufexpreso.No pensabahablarde esto,pero no me han dejado opciön,y aun asfIo hago con
    todo eleufem ism o posible.Porello Ie pido que m e conceda Ia oportunidad de defenderm e a m im ism o,
    asicom o a Ioscom patriotasde Ia causa que no tengan Ietrado.Le garantizo que no haré catarsis en su
    Corte puesIo principalestsdicho aquide Iamejorforma.Le pido también,quese m ecite aentrevista
    para presentarIos docum entos,uno de elloslo acabo de solicitaralDepartam ento de Estado,y aquf
    anexo copia de Ia solicitu . .
       Con la esperanza de       ajusticiase im ponga,quedo de usted.Atentamente.
                               .#

    Prof.Francisco h      an   onzélez
    Exprisionerodeconciencia/Email:franciscochaviano@qmail.com,
    15149SW 173Terrace,Miami,FL33187/teléfono(407)8609511
    M iam i,June 6,2024
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A:Brian A.Nichols.                                               '
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Undersecretary ofState                                                  sentvo

W estern Hem isphere                                                 tc S-fr-é'
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Distinguished oPicial:                                                    >    @       :4# . .        j    e       . j. I,:I..         ''''* r          @     4
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    Iam a plaintiffagainstM r.VûctorManuelRocha,form eram bassadorofthis countl accused
ofbeing a Cuban spy.Iam probably the person m ostdam aged by this m an and one ofhis
longest-serving targets ofaggression entrusted by Castro:Suffice itto say thatwe have lived
through an ordealofhardship and aggression formore than thidy yegrs.                                                                                          -

    In the years 1992,93 and 94 lwas withouta doubtthe mostprom inentCuban oppositionist.
Wi
 th anexecution thatachievedthe highestIevels ofdissidentobjectives.W e stood outso m uch
forourefficientand decentw ork thatIearned the personalhatred ofFidelCastro.He cam e to
blame m e,along with José Basul to and Ram ön SatilSénchez,forcausing the exodus thattook
place from 92 to 95.In m y case,forourwork on the udisappeared''cuban.Castro insisted not
only on im prisoning me fora Iong tim e,butalso on im poverishing m e,discrediting m e and ending
m e.
   And there begins the work ofthe spy Rocha:He withheld the departure ofthe activistJuan
Carlos G onzélez,interm ediary w i
                                 th the collaborating DSE officers.He gave to the cuban
governm entthe inform ation to have us im prisoned in m id-94;and deli
                                                                     vered a copy ofthe secret
docum ents thathe stole from thatSecretariatso thatthey could be used in the trialthey held
againstué in ApriI
                 /1995.
   Butitdidn'tstop there,they staded a smearcam paign againstm e in M iam i,to use itas a
pretextto suspend aid and aIItypes ofprom otion.This and m ore is whatIdem and be restored to
us.To do this,Iwould Iike you to review the docum ents thatIdelivered in 1993-94 and thatm ust
be in the Cuban archive,and corroborate the following:
       -
               Thatyouknew ourperformance,especiallyonthemissing.
           -   Thatyouknew theactivism ofDeputyJoseAntonioPérezand usedadocumentprovided
           by him In NU.
           - Thatyou knew oft
                            he actions againstm y person and SINA executed by the Secretary of
       '
       the CouncilofState Joié MillarBarrueco and theVice PresidentCarloé Lage.
           - Thatmonths before the arrest,we Ietyou know -signed by ourSecretariat-,the
           inform ation ofCap.Augusto CesarSan Madfn,aboutFidelCastro's orderto m ake me a
           visa vendorfile and thatwe review the legitim acy ofaIIcases.
           - From m y friend Sr.ChristoferSibila,lask you to corroborate thatIinform ed yoklverbally,
           aboutthe donation program ofthe emigrating activists'
                                                               ,and also,thatlhonebtly reported to
           him the true reference on the case ofM r,Rolando Verde.

Thanks in advanceforthe Mn ement.
Sincerely,
ProfessorFrancisco C   la o Gonzalez
Ex prisonerofconscience /Email:franciscochaviano@ gm ail.com
15149 SW 173rdTerrace,Miami,FL 33187/Phone:(407)860 9511
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SECRETARfA DE ESTADO
M iam i,Junio 3 de 2024
A:BrianA.Nichols
Subsecretario de Estado
Hem isferio Occidental

Distinguido funcionario:
   Soy un demandante contra elSrVfctorManuelRocha,exembajadorde este pafs inculpado
comoespfacubano.hrobablementeyosea Iapersonamésdaöadaporestesehoryunode sus
objetivosde agresiön porméstiempo encomendado porCastro:Baste decirque hemosvivido un
calvariodejenuriasyagresionesdemésdetreinta ahos.
   En los anoj 1992,93 y94 fuisin Iuiara duda elopositorcqbano més destacado.Con una
ejecutoria que Iogrö Ios mésaltos niveles de objetivosdisidentes.Sobresalfamostantb por
nuestrotrabajo eficiente ydecoroso que me busqué elodio personalde FidelCastro.Este Ileg6 a
culparm e Junto a José Basulto y Ram ön SaûlSénchez de provocareléxodo que tuvo IugardeI
92 al95.En m icaso,pornuestrotrabajosobre IosJïdesaparecidos''.Castro,se empeöö no solo
en encarcelarme porIargo tiem po,sino tam bién:em pobrecerm e,desprestigiarm e y acabar
conm igo.
   Y ahfcomienza eltrabajo deIespfa Rocha:Retuvo Ia salida deIactivista JuanCarlos
Gonzélez,interm ediario con los oficiales deIDSE colaboradores'
                                                              ,entregö Ia inform aciön para que
nosencarcelaran a mediadosdeI94.   ,yentregö copia de Ios documentossecretosquesustrajo
de esa Secretarfa para quefueran utilizadosen eljuicio que noscelebraronenAbriI/1995.
   Pero no par6 ahf,com enzaron una cam paha difamatoria contra m ipersona en M iam i,par:
tom arla de pretexto a m odo de suépenderIa ayuda y todo tipo de prom oci6n.Esto y m és es Io
que reclam o se nos restituya.Para ello quisiera se revisara Ios docum entos que entregué en
1993-94 y que deben estaren elarchi   vo de Cuba,y nos corrobore Io siguiente:
       Q ue conocfan nuestro desem peho,en especialsobre Ios desaparecidos.
       Q ue conocfan deIDiputado José Antonio Pérez y que utilizaron su docum ento en NU.
   -
       Que conocieron de Iasacciones contra m ipersona y Ia SINA ejecutadasporelsecretario
       deICpnsejo de EstadoJosé MillarBarrueco y delvicepresidente Carlos Lage.
   -
       Q ue m eses antes de Ia detenciön,Ies dim os a conocerfirm ado pornuestra Secretarfa,Ia
       informaciön deICap.Augusto CesarSan M artfn,de Ia orden de FidelCastro de hacerm e
       un expediente de vendedorde visa y que revisam os Ia Iegitim idad de todos Ios casos.
   -   DeIam igo Sr,ChristoferSibila,Ie pido corrobore que Ie inform é verbalmente,s-obre el
       program a de donaciones de Ios activistas que em igraban.Asfcom o,que le inform é con
       honestidad Ia verdadera referencia sobre elcaso deISc Rolando Verde.
Agradecido de antem ano por            estiön,quedo de usted atentam ente.
                                   .
                                       Z
Prof.Francisco Chaviano onzalez
Exprisionero de conciencia/Em ail:franciscochaviano@ qm ail.com
15149 SW 173 Terrace,Miami,FL33187/(407)860 9511
